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UNITED STATES DISTRICT COURT FOR THE
_ SOUTHERN DISTRICT OF FLORIDA
CASE NO. 17-21013-CIV-MARTINEZ/OTAZO-REYES
ERIN TAYLOR EDITIONS,
Plaintiff,
VS.
HOSSAM ANTAR, individually,
ARTREV.COM INC.,
and DREAMS FINE ART LLC,

Defendants.

ARTREV.COM INC.,
and DREAMS FINE ART LLC,

Counter-Plaintiffs,
VS.
ERIN TAYLOR EDITIONS,
WILLIAM MACK, individually,
and DEBORAH MACK, individually,

Counter-Defendants.

/

ORDER ADMINISTRATIVELY CLOSING CASE

THIS CAUSE is before the Court upon the parties’ Notice of Settlement (DE 174).
Therein, the parties indicate that they have reached an agreement resolving this matter. The Court
having carefully reviewed the file, and being otherwise fully advised, it is

ORDERED AND ADJUDGED as follows:

1. The above-styled action is administratively CLOSED without prejudice to the parties
to file a stipulation of dismissal or consent judgment within forty-five (45) days of this Order.

2. Ifthe parties fail to complete the expected settlement, either party may request the Court
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to reopen the case.

3. The Clerk shall CLOSE this case for administrative purposes only. Any pending
motions are DENIED AS MOOT.

DONE AND ORDERED in Chambers at Miami, Florida this -\ day of November,

2019.

J O. E Sp
- UNITEDSTATES DISTRICT JUDGE
Copies to all counsel of record -

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